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   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14                                          DEFENDANT INTERFOCUS INC.’S
                  Plaintiff,                  NOTICE OF ERRATA
  15
           v.                                 The Hon. Christina A. Snyder
  16
     INTERFOCUS, INC. d.b.a.
  17 www.patpat.com, a Delaware
     Corporation; CAN WANG, and
  18 individual, and DOES 1-10, inclusive.,
  19              Defendants.
  20
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
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                             DEFENDANT’S NOTICE OF ERRATA
Case 2:20-cv-11181-CAS-JPR Document 53 Filed 08/10/21 Page 2 of 2 Page ID #:1075




   1        PLEASE TAKE NOTICE THAT on August 9, 2021, Defendant Interfocus,
   2 Inc. d.b.a. www.patpat.com inadvertently filed its Reply Declaration of Mark Lee in
   3 Support of Interfocus, Inc.’s Motion for: Summary Judgment [Dkt. 50-1] with an
   4 incorrect title. The Correct title of the document should read Reply Declaration of
   5 Mark Lee and Weiwei Le in Support of Interfocus, Inc.’s Motion for: Summary
   6 Judgment.
   7
   8                                          RIMON, P.C.
   9 Dated: August 10, 2021
  10                                      By: /s/ Mark S. Lee
  11                                          Mark S. Lee
                                              Zheng Liu
  12
                                              Attorneys for Defendants and
  13                                          Counterclaim Plaintiffs
  14                                          INTERFOCUS, INC. d.b.a.
                                              www.patpat.com
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                              DEFENDANT’S NOTICE OF ERRATA
